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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                     24-cr-542 (AS)
         v.

 SEAN COMBS,

                         Defendant.



                               DECLARATION OF ANNA ESTEVAO

        I, Anna Estevao, declare as follows:

        1.     I am a partner at Sher Tremonte LLP, counsel for Sean Combs. I am licensed and

in good standing to practice law in the States of New York and California and I am also admitted

to the United States District Court for the Southern District of New York.

        2.     The declaration is based on my personal knowledge of the facts stated herein, and

is submitted in support of Mr. Combs’s opposition to the motion to quash filed by Warner

Brother’s Discovery, Inc. (“WBD”) and joined by the government.

        3.     Attached as Exhibit A is an e-mail exchange with WBD’s counsel dated March 20,

2025.

        4.     Attached as Exhibit B



        5.     Attached as Exhibit C



        6.     Attached as Exhibit D
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         7.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          April 10, 2025
                New York, NY
                                                     /s/ Anna Estevao
                                                     Anna Estevao, Esq.




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